83 F.3d 414
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Maurice CEPHAS;  Charles A. Anderson, Plaintiffs--Appellants,andGarland LAWSON;  Willie S. Pettaway;  Norman Morrison;David A. Gardner;  Paublo B. Perez;  Edward NelsonDavis, Jr., Plaintiffs,v.Michelle MITCHELL, Sheriff;  James Dismuke;  J.Stubblefield, Defendants-Appellees.Paublo B. PEREZ, Plaintiff-Appellant,andMaurice CEPHAS;  Charles A. Anderson;  Garland Lawson;Willie S. Pettaway;  Norman Morrison;  David A.Gardner;  Edward Nelson Davis, Jr., Plaintiffs,v.Michelle MITCHELL, Sheriff;  James Dismuke;  J.Stubblefield, Defendants-Appellees.
    Nos. 95-7761, 95-7862.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 15, 1996.Decided April 25, 1996.
    
      Appeals from the United States District Court for the Eastern District of Virginia, at Richmond.   Richard L. Williams, Senior District Judge.  (CA-95-564)
      Maurice Cephas, Charles A. Anderson, Paublo B. Perez, Appellants Pro Se.
      E.D.Va.
      AFFIRMED.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellants appeals from the district court's order denying relief on their 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Cephas v. Mitchell and Perez v. Mitchell, No. CA-95-564 (E.D.Va. Oct. 19, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    